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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Jane Doe
                                          Plaintiff,
v.                                                       Case No.: 1:17−cv−03688
                                                         Honorable John Robert Blakey
Harpercollins Publishers, LLC, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 1, 2018:


       MINUTE entry before the Honorable Sheila M. Finnegan: By agreement, the
settlement conference is set on 9/17/2018 at 1:30 p.m.Mailed notice(sxw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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